 

 

Case 17-12925-LSS Doc 37 Filed 12/14/17 Page 1 of 3

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

In re: Chapter 11

MAMMOET-STARNETH, LLC, Case No. 17-12925 (LSS)

Debtor.1 Re: D.I. 4

 

 

ORDER (I) ENFORCING AND RESTATING AUTOMATIC STAY AND
IPSO FACT 0 PROVISIONS AND (II) GRANTING RELATED RELIEF

Upon the motion (the “Mtio_n”)2 of the Debtor in the above-captioned chapter 11 case
(the “Chapter 11 Case”) for entry of an order (the “Or_der”), pursuant to sections 105(a), 362 and
365 of title 11 of the Bankruptcy Code, (i) enforcing and restating the automatic stay and ipso
facto provisions of the Bankruptcy Code and (ii) granting such other and further relief as
requested herein or as the Court otherwise deems necessary or appropriate; and the Court having
jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this proceeding being a core
proceeding pursuant to 28 U.S.C. § 157(b)(2); and that the Court may enter a final order
consistent with Article III of the United States Constitution; and venue of this proceeding and the
Motion in the Court being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper
notice of the Motion having been given; and the Court having found that no other or further
notice is needed or necessary; and the Court having reviewed and considered the Motion and the
Lavooij Declaration; and the Court having heard statements in support of the Motion at a hearing
held before the Court (the “Mg”); and the Court having determined that the legal and factual

bases set forth in the Motion and at the Hearing establish just cause for the relief granted herein;

 

1 The last four digits of the Debtor’s federal tax identification number is 4518. The Debtor’S
address is 2711 Centerville Road, Suite 400, Wilmington, Delaware 19808.

2 Capitalized terms used but not otherwise defined herein have the meanings set forth in the
Motion and the Lavooij Declaration, as applicable

RLFl 18603429v.1

 

 

 

 

Case 17-12925-LSS Doc 37 Filed 12/14/17 Page 2 of 3

and the relief requested in the Motion being in the best interests of the Debtor’s estate, its
creditors, and other parties in interest; and any objections to the relief requested in the Motion
having been withdrawn or overruled on the merits; and after due deliberation and sufficient cause
appearing therefor, it is hereby ORDERED that:

1. The Motion is granted as set forth herein.

2. Subject to the exceptions to the automatic stay contained in section 362(b) of the
Banl<ruptcy Code and the right of any party in interest to seek relief from the automatic stay in
accordance with section 362(d) of the Bankruptcy Code, all persons (including individuals,
partnerships, corporations, and other entities and all those acting on their behalf) whether located
within the United States or otherwise, and governmental units, whether of any foreign country
(including any division, department, agency, instrumentality, or service thereof and all those
acting on their behalf), or of the United States, any state, county, or locality therein, and any
territory or possession thereof, are hereby stayed, restrained, and enjoined from:

(a) the commencement or continuation, including the issuance or employment
of process, of a judicial, administrative, or other action or proceeding
against the Debtor that was or could have been commenced before the
commencement of the Chapter 11 Case, or to recover a claim against the

Debtor that arose before the commencement of the Chapter 11 Case;

(b) the enforcement, against the Debtor or against property of the estate, of a
judgment obtained before the commencement of the Chapter 11 Case;

(c) any act to obtain possession of property of the estate or to exercise control
over property of the estate;

(d) any act to create, perfect, or enforce any lien against property of the estate;

(e) any act to create, perfect, or enforce against property of the Debtor any
lien to the extent that such lien secures a claim that arose before the
commencement of the Chapter 11 Case;

(f) any act to collect, assess, or recover a claim against the Debtor that arose
before the commencement of the Chapter 11 Case; and

RLFl 18603429v.1

 

 

 

 

Case 17-12925-LSS Doc 37 Filed 12/14/17 Page 3 of 3

(g) the setoff of any debt owing to the Debtor that arose before the

commencement of the Chapter 11 Case against any claim against the
Debtor.

3. Pursuant to sections 362 and 365 of the Bankruptcy Code, and subject to any
relevant provisions or exceptions provided for in the Bankruptcy Code, notwithstanding a
provision in a contract (“Contract”) or lease (“M”) or any applicable law, all persons are
hereby stayed, restrained, and enjoined from terminating or modifying any and all Contracts and
Leases to which the Debtor is a party or signatory, at any time after the commencement of the
Chapter 11 Case because of a provision in such Contract or Lease that is conditioned on the (a)
insolvency or financial condition of the Debtor at any time before the closing of the Chapter 11
Case or (b) commencement of the Chapter 11 Case under the Bankruptcy Code.

4. The Debtor is authorized to take all actions necessary to effectuate the relief
granted in this Order in accordance with the Motion.

5 . Nothing in this Order or the Motion shall constitute a rejection or assumption by
the Debtor, as debtor in possession, of any executory contract or unexpired lease.

6. In accordance with the Bankruptcy Code, the Bankruptcy Rules, and applicable
law, upon request of a party in interest, and after notice and a hearing, the Court may grant relief
from the restraints imposed herein in the event that it is necessary, appropriate, and warranted to
terminate, annul, modify, or condition the injunctive relief herein.

7. The Court retains jurisdiction with respect to all matters arising from or relating to
the implementation, interpretation, and enforcement of this Order.

Dated: December 14, 2017

Wilmington, Delaware WMM

%HE HONORABLE LAURIE SELBER SILVERSTEIN
UNITED STATES BANKRUPTCY JUDGE

RLFl 18603429v.l

 

